Case 2:21-cv-00067-Z Document 111 Filed 10/14/21          Page 1 of 6 PageID 3336



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


                                          )
STATE OF TEXAS,                           )
STATE OF MISSOURI,                        )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )   Civil Action No. 2:21-cv-00067-Z
                                          )
JOSEPH R. BIDEN, JR.,                     )
in his official capacity as               )
President of the United States, et al.,   )
                                          )
      Defendants.                         )
                                          )


                    DEFENDANTS’ FIRST SUPPLEMENTAL NOTICE OF
                          COMPLIANCE WITH INJUNCTION
  Case 2:21-cv-00067-Z Document 111 Filed 10/14/21                Page 2 of 6 PageID 3337



       On August 13, 2021, the Court entered an injunction requiring Defendants to, inter alia,

“enforce and implement [the Migrant Protection Protocols] in good faith.” ECF No. 94 at 52;

see also State v. Biden, No. 21-10806, 2021 WL 3674780 at *13 (5th Cir. Aug. 19, 2021).

Defendants submit this supplemental notice to update the Court on the steps Defendants have taken

to comply with the injunction since Defendants’ initial Notice of Compliance on September 15,

2021, ECF No. 105.

       In that initial Notice, Defendants explained that they were rebuilding the administrative,

physical, personnel and policy structures necessary to operate the program, but that MPP could

not be implemented unless and until Mexico independently decides to accept individuals that the

U.S. seeks to return to Mexico. The initial Notice described that conversations with Mexico were

ongoing. See id.; ECF No. 105-1.

       Defendants can now further report that, since the September 15 Notice, the Department of

Homeland Security (DHS) has made substantial progress toward the re-implementation of MPP.

Declaration of Blas Nuñez-Neto at ¶ 3, ECF No. 110-1; see generally ECF No. 110. DHS has,

among other things, engaged in a number of high-level and ongoing virtual and in person

discussions with the Government of Mexico (GOM); continued to finalize the operational plans

that will be required to quickly re-implement MPP; worked closely with the Department of Justice

and other interagency partners to ensure that the immigration courts are prepared to hear the cases

of those subject to MPP on a timely basis; and issued the contracts required to rebuild the soft-

sided Immigration Hearing Facilities (IHFs) in Laredo and Brownsville, Texas. Id. As a result of

this progress, DHS anticipates being in a position to re-implement MPP by mid-November—

dependent on decisions made by Mexico. Id.

       Notably, DHS cannot implement MPP without Mexico’s independent decision to accept




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  Case 2:21-cv-00067-Z Document 111 Filed 10/14/21                 Page 3 of 6 PageID 3338



individuals that the United States seeks to send to Mexico. Id. ¶ 5. As a sovereign nation, Mexico

can deny the entry of all individuals who do not have status in Mexico. Id.; cf. Administrative

Record (AR) 149-50, ECF No. 61 (Mexico’s statement of cooperation with initial implementation

of MPP and assertion of authority to accept or reject migrants into its territory). Thus, before the

U.S. can begin sending individuals back to Mexico, the U.S. needs Mexico’s concurrence, as well

as a shared understanding about key details of how MPP will be re-implemented including, for

example: where and what time such entries will be permitted; how many individuals and what

demographic groups will be permitted per day at each location; and what nationalities will be

accepted for return. Id. ¶ 6.

        In addition, in the ongoing discussions with Mexico regarding re-implementation of MPP,

Mexico has made clear that it has concerns about aspects of how MPP was previously

implemented, and that without certain improvements to the program, it will not decide to accept

MPP enrollees. Id. ¶ 8; see id. ¶ 7 (“Mexico’s decision to accept individuals returned pursuant to

MPP was needed before the program was initiated in 2019, and, because the previous program was

terminated, it is needed again now.”). Specifically, Mexico has identified a number of changes that

it would like to see in MPP before deciding to accept MPP returns, including: an assurance that

cases are generally adjudicated within six months of enrollment and that individuals awaiting court

hearings in Mexico receive timely and accurate information about hearing dates and times;

improved access to counsel; protections against the return of particularly vulnerable populations

to Mexico; and better coordination with Mexico concerning the locations and times of day that

individuals are returned to Mexico. Id. ¶¶ 8-12. DHS is developing an MPP reimplementation plan

that takes into account these concerns, which it will be discussing with Mexico in the coming days;

reimplementation remains contingent on Mexico’s decision to accept returns under MPP. Id. ¶ 13.




                                                 2
  Case 2:21-cv-00067-Z Document 111 Filed 10/14/21                  Page 4 of 6 PageID 3339



        DHS has simultaneously begun taking other steps within its control to be in a position to

begin implementing MPP on or around the middle of November 2021, subject to Mexico’s

decision to accept MPP returns. Id. ¶ 14. First, on October 13, 2021, DHS issued a task order under

an existing contract to rebuild the soft-sided IHFs in Laredo and Brownsville, Texas, at a cost of

approximately $14.1 million to build and $10.5 million per month to operate, to assist with

adjudication of the MPP immigration-court docket. Id. ¶ 15. Second, the MPP interagency task

force is working with DOJ’s Executive Office for Immigration Review (EOIR) to ensure that there

is sufficient space available on immigration court dockets so that hearings for individuals in MPP

can be conducted in a timely manner after enrollment. Id. ¶¶ 16, 17. Third, DHS is finalizing

operational guidance and planning documents that will be needed to operationalize MPP. Id. ¶¶

16, 18, 19. Fourth, DHS is putting into place measures to ensure that MPP hearings can take place

in a manner that protects government personnel, United States communities, and the migrants

themselves from the spread of COVID-19. Id. ¶ 18.

        In conclusion, as a result of these efforts, Defendants report that DHS is ready to begin re-

implementing MPP in mid-November, assuming Mexico’s decision to accept returns under MPP

at that time. Id. ¶ 19.

        Defendants will provide a further report to the Court once MPP is operational.



        Dated: October 14, 2021               Respectfully submitted,

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                                                 3
Case 2:21-cv-00067-Z Document 111 Filed 10/14/21      Page 5 of 6 PageID 3340



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                                    4
  Case 2:21-cv-00067-Z Document 111 Filed 10/14/21                Page 6 of 6 PageID 3341



                                CERTIFICATE OF SERVICE

       I hereby certify that on October 14, 2021, I electronically filed the foregoing document

with the Clerk of the Court for the United States District Court for the Northern District of Texas

by using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will

be accomplished by the CM/ECF system.

                                             /s/ Joseph A. Darrow
                                             JOSEPH A. DARROW
                                             U.S. Department of Justice




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